Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 1 of 35




            EXHIBIT 1
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 2 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 3 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 4 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 5 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 6 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 7 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 8 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 9 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 10 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 11 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 12 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 13 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 14 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 15 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 16 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 17 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 18 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 19 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 20 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 21 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 22 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 23 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 24 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 25 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 26 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 27 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 28 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 29 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 30 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 31 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 32 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 33 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 34 of 35
Case 1:17-cv-02989-AT Document 1808-1 Filed 01/31/24 Page 35 of 35
